
USCA1 Opinion

	










                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________


          No. 95-1994

                                  JOHN J. SULLIVAN,

                                Petitioner, Appellant,

                                          v.

                         WARDEN, NEW HAMPSHIRE STATE PRISON,

                                Respondent, Appellee.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE

                 [Hon. Joseph A. DiClerico, Jr., U.S. District Judge]
                                                 ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                            Cyr and Stahl, Circuit Judges.
                                           ______________

                                 ____________________

               John J. Sullivan on brief pro se.
               ________________
               Jeffrey  R. Howard, Attorney General, and Janice K. Rundles,
               __________________                        _________________
          Senior Assistant Attorney General, on brief for appellee.


                                 ____________________

                                    June 26, 1996
                                 ____________________























                 Per Curiam.   John J.  Sullivan appeals pro se  from the
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            denial of his  petition for a writ of habeas corpus.  For the

            following reasons, we affirm.1
                                         1

                 A New Hampshire state jury  found Sullivan guilty of the

            second  degree murder of Lynne Rousseau  and the first degree

            murder of Harry  Pike.  Sullivan's conviction was affirmed on

            direct appeal to  the New Hampshire Supreme Court.   State v.
                                                                 _____

            Sullivan, 551  A.2d 519  (N.H. 1988).   On January  13, 1995,
            ________

            Sullivan sought federal habeas relief pursuant to 28 U.S.C.  

            2254.  The habeas petition was referred to a magistrate judge

            who recommended that  it be  denied.   On July  7, 1995,  the

            district judge approved the recommendation of the magistrate.

            This appeal followed.

                 Sullivan argues  that the  evidence was  insufficient to

            prove the elements of premeditation and deliberation required

            for a conviction of first  degree murder under New  Hampshire

            state law.  We disagree.  Since the state  court reviewed the

            evidence of premeditation in  some detail and we  fully agree

            with its  analysis of  the sufficiency of  this evidence,  we

            need add only the following comments.  Contrary to Sullivan's

            contention,   the  jury  was   not  bound  by   his  expert's

                                
            ____________________

               1While  this case  was pending  on  appeal, the  President
               1
            signed into law the Antiterrorism and Effective Death Penalty
            Act  of 1996,  Pub. L.  104-132,  110 Stat.  1214 (April  24,
            1996).  Although neither party  has raised the issue, we note
            that we  need not  decide in  this  case whether  any of  the
            amendments  in the  Act apply  since it  would not  alter our
            disposition.  

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            "uncontradicted"  testimony that  Sullivan's intoxication  on

            the night of the killings rendered him unable to premeditate.

            See  State v.  Rullo,  412  A.2d  1009, 1011-12  (N.H.  1980)
            ___  _____     _____

            (observing that the trier of fact may reject expert testimony

            even when  the opposing party  has presented none).   This is

            particularly  so  in   light  of  countervailing   evidence--

            including testimony regarding  Sullivan's ability immediately

            before and  after the killings to understand questions and to

            express himself--from  which the  trier of  fact could  infer

            that he  was  capable  of  premeditating.    See  Jackson  v.
                                                         ___  _______

            Virginia, 443 U.S. 307, 319 (1979) (stating that the relevant
            ________

            question is whether, after viewing the evidence in the  light

            most favorable to the prosecution, any rational trier of fact

            could have found the essential elements of the crime beyond a

            reasonable doubt).    We  add that  we  reject  as  meritless

            Sullivan's claim that the jury  instructions on premeditation

            and burden  of proof were confusing, much less any suggestion

            that these instructions were  violative of due process.   The

            instructions  adequately  explained  the  difference  between

            "premeditation"  and  "knowingly"  and, as  a  whole, clearly

            conveyed to the jury that  the prosecution bore the burden of

            proving the elements of the  crime beyond a reasonable doubt.



                 Sullivan also  contends that  the prosecutor  improperly

            cross-examined  him concerning  a propensity  toward violence



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            and  a  general   dislike  of  women,  that   the  prosecutor

            misrepresented  evidence  in  his  closing,   and  that  this

            "misconduct" by  the prosecutor  requires  a new  trial.   On

            habeas,   we  review   state   court  proceedings   only  for

            constitutional error.  See, e.g., Amirault v. Fair,  968 F.2d
                                   ___  ____  ________    ____

            1404, 1406 (1st Cir.) (explaining  that to prevail on a claim

            of prosecutorial  misconduct, a  habeas petitioner  must show

            that  the prosecutor's conduct  "'so infected the  trial with

            unfairness as to  make the resulting  conviction a denial  of

            due  process'" (quoting Donnelly  v. DeChristoforo,  416 U.S.
                                    ________     _____________

            637, 643 (1974))), cert. denied, 506 U.S. 1000 (1992); Puleio
                               ____________                        ______

            v. Vose, 830 F.2d 1197,  1204 (1st Cir. 1987) (observing that
               ____

            habeas  review  does  not ordinarily  extend  to  state court

            rulings  on the admissibility of evidence), cert. denied, 485
                                                        ____________

            U.S.  990 (1988).   In  the instant  case, the  New Hampshire

            Supreme Court found  the challenged character evidence  to be

            admissible under state law, and we do not think the admission

            of the evidence--or the prosecutor's conduct in eliciting it-

            -violated  due process.  Similarly, having reviewed the trial

            transcript, we reject as meritless Sullivan's suggestion that

            the   prosecutor's   closing  remarks   rendered   his  trial

            fundamentally  unfair,  especially  given the  trial  court's

            repeated  instructions that the  jurors should rely  on their

            own memory of the evidence.  





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                 Last,  since Sullivan  did not  raise  the issue  in his

            habeas petition, we  decline to address his  argument that he

            is entitled  to some form of relief  because the State--which

            provided Sullivan's counsel  on direct appeal with  a copy of

            the  trial  transcripts--failed to  provide  Sullivan with  a

            personal  copy  of  these  transcripts.    See  Cacoperdo  v.
                                                       ___  _________

            Demosthenes,  37 F.3d 504,  507 (9th Cir.  1994) (grounds not
            ___________

            raised  in habeas  petition are  not  cognizable on  appeal),

            cert. denied, 115 S. Ct. 1378 (1995).  We note, however, that
            ____________

            Sullivan has  had the  benefit of these  transcripts in  this

            appeal, and that  we have carefully considered  all citations

            to the record.

                 Affirmed.
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